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                           UNITED STATES BANKRUPTCY COURT

                              EASTERN DISTRICT OF LOUISIANA

   IN RE:

   UTC LABORATORIES, LLC                                        CASE NO. 21-10609
                                                                JUDGE DOUGLAS D. DODD
          DEBTOR                                                CHAPTER 11, SUBCHAPTER V


               ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE

         A telephone status conference was held Friday, October 8, 2021, pursuant to the court's
   October 6, 2021 order (P-185). Participating were

          Laura F. Ashley and Robert A. Kutcher, Attorneys for UTC Laboratories, LLC
          Mark S. Stein, Attorney for Patrick Ridgeway
          Adam G. Young, Attorney for James Agee and Shea Harrelson
          Michael S. Finkelstein, Attorney for Clayton J. White
          McClain R. Schonekas, Attorney for Barry Griffith
          Adam D. Whitworth, Attorney for AIG Specialty Insurance Company

          As a result of the conference,

          IT IS ORDERED that:

          1.       The hearing on Shea Harrelson and James Agee's Motion for Sanctions (P-154)
   scheduled for October 28, 2021 at 10:00 a.m. is continued to November 29, 2021 at 9:00 a.m.,
   and with the consent of all counsel will be held at the United States Bankruptcy Court, 707
   Florida St., 2d Floor, Baton Rouge, Louisiana 70801.

          2.      Trial Preparation:

                  a.     The parties shall file exhibit lists, exchange exhibits, and deliver three sets
                         of copies of all lists and exhibits to Chambers, no later than November 23,
                         2021 at 12:00 noon. All exhibits shall be sized to 8.5 x 11 inches.
                         EXHIBITS SHALL NOT BE FILED ELECTRONICALLY.

                  b.     Parties intending to make use of electronic evidence, including audio and
                         video recordings, and demonstratives presented by electronic means, shall
                         notify the courtroom deputy and the court's technology staff no later than
                         5 business days before trial to ensure that they have proper cabling and
                         compatible equipment. Parties failing to arrange with the court's staff
                         presentation of electronic evidence or use of electronic demonstratives
                         sufficiently in advance of trial shall not be permitted to offer electronic
                         evidence or use electronic demonstratives if doing so will delay trial, and
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                          will be deemed to have waived electronic evidence presentation and use of
                          electronic demonstratives.

                  c.      The parties shall file pretrial memoranda no later than November 23,
                          2021. Memoranda shall not exceed 25 pages without prior leave of court.
                          Issues not timely briefed shall be deemed abandoned and shall not be
                          considered at trial.

            3.      Privacy: The judiciary's privacy policy restricts the publication of certain
   personal data in documents filed with the court. The policy requires limiting Social Security and
   financial account numbers to the last four digits, using only initials for the names of minor
   children, and limiting dates of birth to the year. However, if such information is elicited during
   testimony or other court proceedings, it will become available to the public when the official
   transcript is filed at the courthouse unless, and until, it is redacted. If a restricted item is
   mentioned during questioning of witnesses or at another time in court, counsel shall move to
   strike it from the record or to redact the transcript to conform to the privacy policy, or the court
   may do so on its own motion.

           4.     Movers shall electronically mail the pretrial order (as an attachment in Word or
   WordPerfect format) to Chambers (orders@lamb.uscourts.gov) no later than November 23, 2021
   at 12:00 noon local time. The pretrial order shall be submitted as a single document with no
   separate attachments.

   Requirements for Pretrial Order

          1.       Counsel for all parties shall confer not later than 30 days before trial to reach all
   possible stipulations and to exchange exhibits that they intend to offer in evidence at trial.
   Movers' counsel shall initiate the conference, and all other counsel shall cooperate in scheduling
   and concluding the conference. A party unable to obtain the cooperation of other counsel to
   schedule and complete the conference shall communicate with the court. At the conference
   counsel for the parties shall furnish a statement of the real issues each party will offer evidence
   to support, identifying in the statement contested issues of law and of fact. The parties shall
   eliminate any issues raised in the pleadings as to which no real controversy exists. Movers'
   counsel then shall prepare the pretrial order and submit it to opposing counsel for review
   and approval.

           2.     All trial counsel shall sign the pretrial order, then movers shall electronically mail
   it to chambers. The judge shall sign the pretrial order if it complies with this order.

          3.      The pretrial order shall include:

                  a.      The date and time of the trial;

                  b.      A realistic estimate of the time required for trial;

                  c.      The appearance of counsel, identifying the party(s) represented;




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                d.    A description of the parties and the legal relationships of all parties,
                      specifically identifying the claims, counterclaims, third party claims and
                      cross claims.

                e.    A statement that the proceeding is a "core" proceeding as described in 28
                      U.S.C. §157(b)(2)(a)( and (o), and the court will render a final judgment
                      under Federal Rule of Bankruptcy Procedure 7052 rather than issue
                      proposed findings of fact and conclusions of law pursuant to Federal Rule
                      of Bankruptcy Procedure 9033.

                f.    A list and description of any pending or contemplated motions, and any
                      special issues appropriate for determination in advance of trial.

                g.    A statement of all uncontested material facts. This list should be in a form
                      suitable for inclusion in the court's findings of fact.

                h.    A list of findings of fact proposed by the movers to which the respondents
                      will not stipulate. This list should be in a form suitable for inclusion in the
                      court's findings of fact.

                i.    A list of findings of fact proposed by the respondents to which the mover
                      will not stipulate. This list should be in a form suitable for inclusion in the
                      court's findings of fact.

                j.    A list of uncontested conclusions of law. This list should be in a form
                      suitable for inclusion in the court's conclusions of law.

                k.    A list of conclusions of law proposed by movers that respondents contest.
                      This list should be in a form suitable for inclusion in the court's
                      conclusions of law.

                l.    A list of conclusions of law proposed by respondents that movers contest.
                      This list should be in a form suitable for inclusion in the court's
                      conclusions of law.

                m.    A statement that discovery is complete. Except for good cause, all
                      discovery shall be completed before the discovery cutoff specified in this
                      or earlier court order. Except for good cause, the court will not grant
                      extensions of discovery sought after the discovery cutoff.

                n.    For each party, a complete list of exhibits to be offered at trial, identifying
                      every proposed exhibit by title (or description) and date (if applicable).
                      Parties shall stipulate to the authenticity and admissibility of proposed
                      exhibits where possible before trial, and if they are unable to stipulate
                      shall set forth in the pretrial order all objections to the introduction of
                      proposed trial exhibits. Parties shall specify every objection to the
                      introduction of any trial exhibit with citations to the applicable Federal
                      Rule of Evidence or other applicable law. Objections to admissibility of


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                       an exhibit not set forth in the pretrial order shall be deemed waived.
                       Exhibits shall be individually labeled to identify the offering party and
                       consecutively numbered in the order they are to be introduced at trial, to
                       the extent practical.

                o.     A list of all deposition or other testimony to be offered into evidence at
                       trial. Parties offering prior testimony shall identify the specific pages of
                       transcripts being offered, if they intend to offer only parts of a complete
                       transcript. A party objecting to the introduction of prior testimony shall
                       identify the specific portions of the transcript to which it objects, and the
                       specific basis for the objection. Objections to the introduction of prior
                       testimony shall be deemed waived if they are not set forth in the pretrial
                       order, except for objections to prior testimony used solely for
                       impeachment.

                p.     Witnesses:

                       (1)    A list of witnesses for each party, including the names, addresses, a
                              statement of the general subject matter of their testimony, and
                              identification of witnesses who will be called in the absence of
                              reasonable notice to opposing counsel, and of those who may be
                              called. Except for good cause, the court shall not permit any
                              witness to testify unless with respect to such witness there has been
                              complete compliance with all provisions of the pretrial order.

                       (2)    The statement that "No further witnesses shall be added to the
                              pretrial order except upon application to the court for good cause."
                              Once the judge has signed the pretrial order, the court shall not
                              grant leave to add witnesses if doing so will deprive opposing
                              parties of an opportunity to depose the witnesses, or otherwise
                              delay the case unnecessarily. This restriction shall not apply to
                              impeachment or rebuttal witnesses.

                q.     The statement that "This pretrial order has been formulated after a
                       conference at which counsel for the respective parties (or the parties if
                       they are not represented by counsel) have appeared in person.
                       Reasonable opportunity has been afforded counsel for corrections or
                       additions before signing. Hereafter, this order will control the course of
                       the trial and shall not be amended except with consent of the parties and
                       the court, or by court order to prevent manifest injustice."

                r.     A statement that counsel have conferred in good faith in an effort to settle
                       the dispute without the necessity of a trial.

           IT IS FURTHER ORDERED that only an order of the court can change any deadlines or
   other requirements in this order; parties may not do so by agreement.




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           IT IS FURTHER ORDERED that the Clerk serve this order on counsel of record for all
   parties to this proceeding.

          Baton Rouge, Louisiana, October 12, 2021.

                                    s/ Douglas D. Dodd
                                   DOUGLAS D. DODD
                           UNITED STATES BANKRUPTCY JUDGE




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